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                              UNITED STATES DISTRICT COURT
                              SO UTHERN DISTRICT O F FLO RIDA

                            CASE NO .15-62463-CIV-BLOO MN ALLE

   FELIX PICCO LO ,JR.,as personal
   representative ofFELIX
   ANGELO PICCO LO ,

            Plaintis/counter-Defendant,

   V.

   FRANK ANTHO NY PICCO LO,

            Defendant/counter-plaintiff,

   EVE PICCO LO ,

            Defendant.
                                               /

                           CO URT'S INSTRUCTIO NS TO THE JURY

            Membersofthejury:
            lt's m y duty to instructyou on the rules oflaw thatyou m ustuse in deciding this

   Case .

            W hen lhave finished youwillgo to thejuryroom and begin yourdiscussions,
   som etim es called deliberations.
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             The Duty to Follow Instructions- No Corporate Party Involved

         Yourdecision m ustbe based only on the evidence presented here. You m ust

   notbe influenced in anyway byeithersympathy fororprejudice againstanyone.
         You m ustfollow the Iaw as Iexplain it- even ifyou do notagree with the Iaw-

   and you m ustfollow aIIofm y instructions as a whole. You m ustnotsingle outor

   disregard any ofthe instructions on the law .




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                  Consideration ofDirectand Circum stantialEvidence;
                    Argum entofCounsel;Com m ents by the Court

         As Isaid before,you m ustconsideronly the evidence thatIhave adm itted in the

   case. Evidence includes the testim ony ofwitnesses and the exhibits adm itted. But,

   anything the lawyers say is notevidence and isn'tbinding on you.

         You shouldn'tassume from anything I've said thatlhave any opinion aboutany
   factualissue in this case. Exceptform y instructions to you on the Iaw,you should

   disregard anything Imay have said during the trialin arriving atyourow n decision about

   the facts.

         Yourow n recollection and interpretation ofthe evidence is whatm atters.

         ln considering the evidence you m ay use reasoning and com mon sense to make

   deductions and reach conclusions. You shouldn'tbe concerned aboutwhetherthe

   evidence is directorcircum stantial.
         ''Directevidence''is the testim ony ofa person w ho asserts thathe orshe has

   actualknowledge ofa fact,such as an eyew i
                                            tness.

         ''Circum stantialevidence''is proofofa chain offacts and circum stances thattend

   to prove ordisprove a fact. There's no Iegaldifference in the weightyou m ay give to

   eitherdirectorcircum stantialevidence.




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                                 Credibility ofW itnesses

         W hen Isay you m ustconsideralIthe evidence,Idon'tm ean thatyou m ust

   acceptaIIthe evidence as true oraccurate.You should decide whetheryou believe

   whateach w i
              tness had to say,and how im portantthattestimony was. ln m aking that

   decision you m ay believe ordisbelieve any w itness,in whole orin part. The num berof

   witnesses testifying concerning a particularpointdoesn'tnecessarily m atter.

         To decide whetheryou believe any w itness Isuggestthatyou ask yourselfa few

   questions:

         @      Did the w i
                          tness im press you as one who was telling the truth?

         *      Did the witness have any particularreason notto tellthe truth?
         @      Did the witness have a personalinterestin the outcom e ofthe

                case?

         @      Did the witness seem to have a good m em ory?

         @      Did the witness have the opportuni
                                                 ty and ability to accurately

                observe the things he orshe testified about?

         @      Did the witness appearto understand the questions clearly and

                answerthem directly?

         *      Did the w itness's testim ony differfrom othertestim ony orother

                evidence?




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            Im peachm entofW itnesses Because oflnconsistentStatem ents

          You should also ask yourselfwhetherthere was evidence thata witness testified

   falsely aboutan im podantfact. And ask whetherthere was evidence thatatsom e

   othertime a witness said ordid som ething,ordidn'tsay ordo som ething,thatwas

   differentfrom the testim ony the witness gave during this trial.

          Butkeep in m ind thata sim ple m istake doesn'tm ean a witness wasn'ttelling the

   truth as he orshe rem em bers it. People naturally tend to forgetsom e things or

   rem em berthem inaccurately. So,ifa witness m isstated som ething,you m ustdecide

   whetheritwas because ofan innocentIapse in m em ory oran intentionaldeception.

   The significance ofyourdecision m ay depend on whetherthe m isstatementis aboutan

   im portantfactoraboutan unim portantdetail.




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     Responsibility forProof- plainti/ s Claim s- preponderance ofthe Evidence,
                           Clearand Convincing Evidence

         In this case itis the responsibility ofthe Plaintiffto prove every essentialpartof

   his claim s by a ''preponderance ofthe evidence''or,forthe Plaintiff's civiltheftclaim

  only,by ''clearand convincing evidence.' This is som etim es called the ''burden of

   proof'orthe I'burden ofpersuasion.''

         A 'preponderance ofthe evidence''sim ply m eans an am ountofevidence thatis

  enough to persuade you thatthe Plaintiff's claim is m ore Iikely true than nottrue. ''Clear

  and convincing evidence''is a higherstandard ofproofthan proofby a preponderance

  ofthe evidence. Itm eans the evidence m ustpersuade you thatthe claim is highly

   probable orreasonably certain.
         lfthe prooffails to establish any essentialpad ofa claim orcontention by a

   preponderance ofthe evidence or,forthe Plaintiff's civiltheftclaim only,by clearand

   convincing evidence,you should find againstthe Plaintiff.

         W hen m ore than one claim is involved,you should considereach claim

  separately.
         ln deciding whetherany facthas been proved by a preponderance ofthe

  evidence orby clearand convincing evidence,you m ay considerthe testim ony ofallof

  the w itnesses,regardless ofwho m ay have called them ,and aIIofthe exhibits received

   in evidence,regardless ofwho m ay have produced them .
         Ifthe prooffails to establish any essentialpartofthe Plaintiff's claim s by a

   preponderance ofthe evidence or,forthe Plaintiffs civiltheftclaim only,by clearand

   convincing evidence,you should find forthe Defendants as to thatclaim .




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                                       Stipulations

         Som etimes the padies have agreed thatcedain facts are true. This agreement

   is called a stipulation. You m usttreatthese facts as proved forthis case.




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                       CountI- civilTheo (AgainstFrank Piccolo)
         Plaintiff's firstclaim is forciviltheftagainstDefendantFrank Piccolo,based on

  the allegation thathe wrongfullytookapproximately$350,000.00 in gold coinsand
  $50,000.00 incash from Felix Piccolo,Sr.'s safe depositboxand intended to either
  tem porarily orperm anently deprive him ofthese assets.

         The issues foryou to decide on Plaintiffs civiltheftclaim are:whetherDefendant

   Frank Piccolo obtained orused the property ofFelix Piccolo,Sr.,w i
                                                                    th crim inalintent

  thatis,with the intentto deprive him ,eithertem porarily orperm anently,ofa superior

   rightto the property ora benefitfrom it;and,ifso,whetherFrank Piccolo's actions were

   a Iegalcause ofloss ordamage to Felix Piccolo,Sr.

         The civiltheftclaim mustbe proved byclearand convincing evidence- notjust
   by a preponderance ofthe evidence. Clearand convincing evidence is som ething m ore

  than a preponderance ofthe evidence;itm eans the evidence m ustpersuade you that

  the claim is highly probable orreasonably certain.

         lfyou find forDefendantFrank Piccolo on this claim ,you willnotconsiderthe

   m atterofdam ages. Butifyou find forPlaintiff,you m ustconsiderhis com pensatory

   dam ages. You m ay award Plaintiffonly those dam ages shown to be proximately

   caused by Frank Piccolo's w rongfulaction.
         Dam ages are the proxim ate orIegalresultofa wrongfulactofanotherifyou find

   from clearand convincing evidence that,exceptforthe wrongfulact,the dam ages

   would nothave occurred. A wrongfulactm ay be a proxim ate orlegalcause of

   dam ages even though the wrongfulactoperates in com bination with the actofanother

   so long as the wrongfulactcontributes substantially to producing the dam ages.


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          W hen considering the issue ofPlaintifrs dam ages, you should determ ine what

   am ount,i
           fany,Plaintiffhas proven by clearand convincing evidence as full, just,and

   reasonable com pensation foraIIofPlaintifrs dam ages,no m ore and no Iess.

   Com pensatory dam ages are notallow ed as a punishm entand m ustnotbe im posed or

   increased to penalize DefendantFrank Piccolo.Also, com pensatory dam ages m ustnot

   be based on speculation orguesswork because itis only actualdam ages thatare

   recoverable. You should considerthe following elem entofdam ages,to the extentyou

   find thatPlaintiffhas proved itby clearand convincing evidence, and no others:the

   totalvalue ofany assets thatFrank Piccolo w rongfully took from Felix Piccolo,Sr.'s

   safe depositbox.




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                 CountIl- conversion (AgainstFrankand Eve Piccolo)
         Plaintiff's second claim is forconversion againstDefendants Frank Piccolo and

   Eve Piccolo,based on the allegation thatDefendants are w rongfully in possession of

   gold coins and cash thatwere stored in Feli
                                             x Piccolo,Sr.'s safe depositbox.

         ''Conversion''is an unauthorized actwhich deprives anotherofhis property

   permanently orforan indefinite tim e.

         To prevailon his claim forconversion ofthe gold coins and/orcash,Plaintiff

   m ustprove by a preponderance ofthe evidence:

                Felix Piccolo,Sr.possessed orhad an im m ediate rightto possess

                specific and identifiable assets'
                                                ,

         2.     Defendants com m itted an unauthorized actw hich deprived Felix

                Piccolo,Sr.,ofthose assets'
                                          ,and

         3.     Felix Piccolo,Sr.,demanded thatDefendants return the assets but

                Defendants refused to do so.

         Neitherknowledge norintentis required to prove a claim forconversion. Rather,

   conversion m ay be established despite evidence thatDefendants took orretained

   propedy based on the m istaken beliefthatthey had a rightto possession.

         In the verdictform thatIwillexplain in a m om ent,you willbe asked to answera

   series ofquestions concerning each ofthese factualissues.

         lfyou find forPlaintiffon this claim ,you m ustconsiderPlaintiff's com pensatory

   dam ages. You are instructed thatthe measure ofdam ages fora claim forconversion is

   the fairm arketvalue ofthe propedy atthe tim e ofthe conversion plus Iegalinterestto

   the date ofthe verdict.



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            CountIll- Aiding and Abetting Conversion (AgainstEve Piccolo)
         Plaintiff's third claim is foraiding and abetting conversion againstDefendantEve

   Piccolo,based on the allegation thatshe rendered substantialassistance to Defendant

   Frank Piccolo in the conversion ofthe gold coins and cash thatwere stored in Felix

   Piccolo Sr.'s safe depositbox.

         DefendantEve Piccolo m ay be Iiable forconversion- even ifshe personally did

   notcom m itthe conversion- ifyou find thatshe aided and abetted DefendantFrank

   Piccolo,who com m itted the conversion. To hold Eve Piccolo Iiable foraiding and

   abetting conversion,Plainti
                             ffm ustprove by a preponderance ofthe evidence:

         1.       A conversion (asdefined earlierin CountII)was committed by Frank
                  Piccolo'
                         ,

         2.       DefendantEve Piccolo substantially assisted Frank Piccolo in

                  com m itting the conversion'
                                             ,and

         3.       Eve Piccolo knew thatheractions would assistin the conversion at

                  the time she provided the assistance.

         Eve Piccolo need nothave known the specific violations thatthe otherperson or

   persons intended to com m it. ltis sufficientifshe was aware thatone ofa num ber

   ofviolations would probably be com m itted,and one ofthose violations was in fact

   com m itted.
         lfyou find forPlaintiffon this claim ,you m ustconsiderPlaintifrs com pensatory

   damages. As w i
                 th the claim forconversion,the m easure ofdam ages fora claim for

   aiding and abetting conversion is the fairm arketvalue ofthe propedy atthe tim e ofthe

   conversion plus legalinterestto the date ofthe verdict.



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                   CountIv- unjustEnrichment(AgainstFrank Piccolo)
         Plaintiff'sfourthclaim isforunjustenrichmentagainstDefendantFrankPiccolo.
   This claim is based on the allegations thatFelix Piccolo,Sr.,Ioaned Frank Piccolo

   $200,000.00 inJuly2014 and thatFrank Piccolo repudiated and stopped payingthe
   loan in Novem ber2015 when he was accused oftaking the gold coins and cash from

   Felix Piccolo,Sr.'ssafe depositbox. Plaintiff's unjustenrichmentèlaim isalso based
   on the allegations thatFelix Piccolo,Sr.,provided Frank Piccolo with access to the safe

   depositbox and thatFrank Piccolo im properly rem oved the gold coins and cash

   therefrom .

         A claim forunjustenrichmentisan equitable claim which impliesa contractasa
   matterofIaw. Such a contractimplied in Iaw is established where itisdeemed unjust
   forone pady to have received a benefitwithouthaving to pay com pensation forit.

         To succeed on hisclaim forunjustenrichment,Plaintiffmustprove each ofthe
   following elem ents by a preponderance ofthe evidence:

         1.      Felix Piccolo,Sr.,conferred a benefit(inthe form ofthe
                 aforementioned Ioan and/orthe granting ofaccess to the safe

                 depositbox)on DefendantFrankPiccolo,and Frank Piccolo had
                 knowledge ofthe benefit'
                                        ,

         2.      Frank Piccolo voluntarily accepted and retained the benefit'
                                                                            ,and

         3.      The circum stances are such thatitwould be inequitable forFrank

                 Piccolo to retain the benefitw ithoutpaying the value ofitto

                 Plaintiff.

         Ifyou find forPlaintiffon this claim ,you willthen considerthe am ountof

   m onetary dam ages to be awarded. You should award Plaintiffan am ountofm oney

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    show n by a preponderance ofthe evidence to be the value ofthe benefitreceived by

    DefendantFrank Piccolo.




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                  CountV- Breach ofContract(AgainstFrank Piccolo)
          Plainti
                ff's fi
                      fth claim is forbreach ofcontractagainstDefendantFrank Piccolo.

   Plainti
         ffclaim s thatFelix Piccolo,Sr.,and Frank Piccolo entered into a contractin

   July 2014 whereby Felix Piccolo,Sr.,loaned Frank Piccolo $200,000.00. Plaintiff
   fudherclaim s thatFrank Piccolo breached this contractwhen he openly repudiated the

   contractand stopped m aking paym ents to Felix Piccolo,Sr.,in Novem ber2015.

         Plaintiffclaims thatFelix Piccolo,Sr.,and Frank Piccolo entered into a contract.

   To prove thata contractwas created,Plaintiffm ustprove aIIofthe following by a

   preponderance ofthe evidence:

                The essentialcontractterm s were clearenough thatthe parties

                could understand whateach was required to do;

         2.     The padies agreed to give each othersom ething ofvalue.A

                prom ise to do som ething ornotto do som ething m ay have value;

                and

         3.     The parties agreed to the essentialterms ofthe contract. W hen

                you exam ine whetherthe padies agreed to the essentialterm s of

                the contract,ask yourselfif,underthe circum stances,a reasonable

                person would conclude,from the words and conductofeach pady,

                thatthere was an agreem ent. The m aking ofa contractdepends

                only on whatthe padies said ordid. You m ay notconsiderthe

                padies'thoughts orunspoken intentions.

         IfPlaintiffdid notprove aIIofthese facts,then a contractwas notcreated,and

   you should find forDefendantFrank Piccolo on this claim .



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        IfPlaintiffdid prove thata contractwas created,then in orderto recoverdam ages

   from DefendantFrank Piccolo forbreach ofcontract,Plaintiffm ustalso prove aIIofthe

   following by a preponderance ofthe evidence:

         1.     Felix Piccolo,Sr.,did all,orsubstantially all,ofthe essentialthings which

                the contractrequired him to do,orwas excused from doing those things'
                                                                                    ,

         2.     Frank Piccolo failed to do som ething essentialwhich the contractrequired

                him to do,orhe did som ething which the contractprohibited him from

                doing and thatprohibition w as essentialto the contract'
                                                                       ,and

         3.     Felix Piccolo,Sr.,was harmed by thatfailure orprohibited act.

         ln evaluating this claim ,you are instructed thatcontracts m ay be written ororal,

   and thatcontracts may be padlywritten and padlyoral.Oralcontractsarejustasvalid
   as written contracts.
         Ifyou find forPlaintiffon this claim ,then you should award him an am ountof

   m oney thatthe preponderance ofthe evidence shows willfairly and adequately

   com pensate Plaintiffforhis dam ages. Com pensatory dam ages is thatam ountof

   m oney which willputPlaintiffin as good a position as he would have been ifDefendant

   Frank Piccolo had notbreached the contractand which naturally resultfrom the breach.




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               CountVl- Breach ofFiduciary Duty (AgainstFrank Piccolo)
          Plaintifrs sixth claim is forbreach offiduciary duty againstDefendantFrank

   Piccolo. Plaintiffalleges thata fiduciary duty was created in July 2012,w hen Felix

   Piccolo,Sr.,executed a Durable PowerofAttorney thatnamed Frank Piccolo as his

   attorney-in-fact. Plainti
                           fffurtherallegesthatFrank Piccolo breached thatfiduciary duty

   by rem oving gold coins and cash from Felix Piccolo,Sr.'s safe depositbox,by failing to

   keep any records ofthe rem ovalora written inventory ofFrank Piccolo's access to the

   safe depositbox,and by claiming thatthe gold coins,cash,and/orthe $190,000.00
   check received by Frank Piccolo constituted ''gifts.'

         Plaintiffclaims thatDefendantFrank Piccolo violated whatis called a d'fiduciary''

   duty orobligation thathe owed to Felix Piccolo,Sr.A fiduciary relationship between

   two persons m ay be eitherexpress orim plied. An express fiduciary relationship is

   created by contractorstatute. An im plied fiduciary duty m ay arise where the factual

   circumstances ofthe relationship indicate thatone person (the ''principal')has placed
   theirtrustand confidence in a second person (the 'fiduciar/'
                                                              )fora specialpurpose and
   thatthe second person accepted this trustand confidence. Although there is no

   exhaustive Iistoffiduciary relationships,fiduciary duties m ostcom m only arise between

   attorneys and theirclients,officers and shareholders ofa corporation,personal

   representatives ofan estate and the estate's heirs,and between trustees and the

   beneficiaries ofa trust.

         W hen one person does undertake to actforanotherin a fiduciary relationship,

   the law forbids the fiduciary from acting in any m anneradverse orcontrary to the

   interests ofthe principal,orfrom acting forthe fiduciary's own benefitwith respectto

   the subjectmatteroftheirrelationship. The fiduciarytherefore has a responsibilityto
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   disclose any conflicts between the fiduciary's interests and the principal's interests

   which m ightm ake the fiduciary actin the fiduciary's own bestinterestatthe expense or

   the detrimentofhis principal. The principalis entitled to the besteffods ofthe fiduciary

   on the principal's behalf,and the fiduciary m ustexercise skill,care,and diligence w hen

   acting on behalfofthe principal.

         Thus,within the scope ofaction acknowledged oragreed to by the fiduciary,he

   is required to make truthfuland com plete disclosures to the principal,and the fiduciary

   is forbidden to obtain an unreasonable advantage atthe principal's expense.

         To recoveron this claim ,Plaintiffm ustprove each ofthe following facts by a

   preponderance ofthe evidence:

                A ''
                   fiduciary''relationship (asthatterm hasbeen defined in these
                instructions)existed between Felix Piccolo,Sr.,and Defendant
                Frank Piccolo'
                             ,

         2.     Frank Piccolo violated his fiduciary duty by removing gold coins

                and cash from Felix Piccolo,Sr.'s safe deposi
                                                            tbox,by failing to

                keep any records ofthe removalora written inventory ofFrahk

                Piccolo's access to the safe depositbox,and by claim ing thatthe

                gold coins,cash,and/orthe $190,000.00 checkreceived byFrank
                Piccolo constituted d
                                    'gifts'''
                                            ,and

         3.     Felix Piccolo,Sr.,suffered dam ages as a proxim ate resultofthat

                violation ofthe fiduciary obligation.
         Ifyou find forPlaintiffon this claim ,then you should award him an am ountof

   m oney thatthe preponderance ofthe evidence shows willfairly and adequately

   com pensate him foraIIdam ages proximately resulting from DefendantFrank Piccolo's
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   breach offiduciary duty. Fordam ages to be the proxim ate resultofan actorcourse of

   dealing,itm ustbe shown thatsuch actorcourse ofdealing played a substantialpartin

   causing orbringing aboutthe dam ages,and that,exceptforsuch conduct,the

   dam ages would nothave occurred.




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     CountVll- Aiding and Abehing Breach ofFiduciary Duty (AgainstEve Piccolo)
         Plaintiffs seventh and Iastclaim isforaiding and abetting breach offiduciary

   duty againstDefendantEve Piccolo. This claim is based on the allegation thatEve

   Piccolo rendered substantialassistance to Frank Piccolo in com m i
                                                                    tting various

   breaches ofan alleged fiduciary duty owed to Plaintiff.

         DefendantEve Piccolo m ay be Iiable forbreach offiduciary duty--even ifshe

   personally did notcom m itthe breach- ifyou find thatshe aided and abetted Defendant

   Frank Piccolo,who com m itted the breach offiduciary duty. To hold Eve Piccolo Iiable

   foraiding and abetting breach offiduciary duty,Plaintiffm ustprove by a preponderance

   ofthe evidence:

                  A breach offiduciaryduty (asthatterm wasdefined in CountVI)
                  was com m itted by Frank Piccolo'
                                                  ,

         2.       Eve Piccolo substantially assisted Frank Piccolo in the bfeach of

                  fiduciary duty;and

         3.       Eve Piccolo knew thatheractions would assistin the breach of

                  fiduciaryduty atthe time she provided the assistance.

         Eve Piccolo need nothave known the specific violations thatthe otherperson or

   persons intended to com m it. Itis sufficientifshe was aware thatone ofa num ber

   ofviolations would probably be com m i
                                        tted,and one ofthose violations was in fact

   com m itted.

         lfyou find forPlaintiffon this claim ,then you should award him an amountof

   m oney thatthe preponderance ofthe evidence shows willfairly and adequately

   com pensate him foralIdam ages proxim ately resulting from DefendantEve Piccolo's

   aiding and abetting breach offiduciary duty.Again,fordam ages to be the proxim ate

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   resultofan actorcourse ofdealing,itm ustbe shown thatsuch actorcourse ofdealing

   played a substantialpad in causing orbringing aboutthe dam ages,and that,exceptfor

   such conduct,the dam ages would nothave occurred.




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               Duty to Deliberate W hen Only the Plaintif C laim s Dam ages

         Ofcourse,the factthatIhave given you instructions concerning the issue of

   Plaintiff's dam ages should notbe interpreted in any w ay as an indication thatlbelieve

   thatthe Plaintiffshould,orshould not,prevailin this case.

         Yourverdictm ustbe unanim ous- in otherwords,you m ustaIIagree. Your

   deliberations are secret,and you'llneverhave to explain yourverdictto anyone.

         Each ofyou m ustdecide the case foryourself,butonly afterfully considering the

   evidence withthe otherjurors. Soyou mustdiscussthe casewith one anotherand try
   to reach an agreem ent.W hile you're discussing the case,don'thesitate to reexam ine

   yourown opinion and change yourm ind ifyou becom e convinced thatyou were wrong.

   Butdon'tgive up yourhonestbeliefsjustbecause othersthinkdifferently orbecause
   you sim ply wantto getthe case overwith.

         Rememberthat,in a veryrealway,you'rejudges- judges ofthe facts.Youronly
   interestis to seekthe truth from the evidence in the case.




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                     Election ofForeperson;Explanation ofVerdictForm

          W hen you getto the jury room,choose one ofyourmembersto actas
   foreperson. The foreperson willdirectyourdeliberations and speak foryou in court.

          A verdictform has been prepared foryourconvenience.

                                      (Explain verdictform)
          Takethe verdictform with youto thejuryroom.W henyou've aIIagreed on the
   verdict,yourforeperson m ustfillin the form ,sign it,and date it. Then you'llreturn itto

   the courtroom .

          Ifyou wish to com m unicate with m e atany tim e,please write dow n your

   m essage orquestion and give itto the coud security officer. The courtsecurity officer

   w illbring itto m e and 1'11respond as prom ptly as possible-- eitherin writing orby talking

   to you in the courtroom .Please understand thatIm ay have to talk to the Iawyers and

   the padies befofe Irespond to yourquestion orm essage,so you should be patientas

          tmy response. Butlcauti
   you awai                     on you nottotellme how manyjurors have voted
   one wayorthe otheratthattime.Thattype ofinformationshould remain in thejury
   room and notbe shared with anyone,including m e,in yournote orquestion.




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